       Case 1:11-cv-06201-DLC Document 1217 Filed 02/03/15 Page 1 of 24



                          UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF NEW YORK

FEDERAL HOUSING FINANCE AGENCY, AS
CONSERVATOR FOR THE FEDERAL                               No. 11-cv-6201 (DLC)
NATIONAL MORTGAGE ASSOCIATION AND
THE FEDERAL HOME LOAN MORTGAGE                                   ECF Case
CORPORATION,

       Plaintiff,

       -against-

NOMURA HOLDING AMERICA INC., et al.,

       Defendants.


           DEFENDANTS’ MEMORANDUM IN SUPPORT OF THEIR
     MOTION TO EXCLUDE CERTAIN TESTIMONY OF CHARLES D. COWAN

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          Case 1:11-cv-06201-DLC Document 1217 Filed 02/03/15 Page 2 of 24



                                                  TABLE OF CONTENTS

                                                                                                                                   Page

PRELIMINARY STATEMENT ....................................................................................................1

BACKGROUND ............................................................................................................................2

          A.         Cowan’s Failure to Use a 95 Percent Confidence Level to Extrapolate
                     Ranges of Loan-to-Value Ratios .............................................................................5

          B.         Cowan’s Failure to Use Kilpatrick’s Definition of an “Inflated” or
                     “Undervalued” Appraisal ........................................................................................9

ARGUMENT ................................................................................................................................12

I.        LEGAL STANDARD .......................................................................................................12

II.       COWAN’S TESTIMONY THAT IS NOT BASED ON ANY STANDARD OF
          STATISTICAL SIGNIFICANCE SHOULD BE EXCLUDED .......................................14

          A.         Plaintiff Is Estopped from Presenting Extrapolations That Do Not
                     Incorporate the Confidence Level It Proposed and the Court Approved ..............14

          B.         Cowan’s Extrapolations Without Regard to Any Standard of Statistical
                     Significance Are Unreliable Under Daubert ........................................................15

          C.         Cowan’s Extrapolations Without Regard to Any Standard of Statistical
                     Significance Should Be Excluded Under Rule 403 ..............................................16

III.      COWAN’S TESTIMONY THAT IGNORES KILPATRICK’S DEFINITION OF
          AN “INFLATED” APPRAISAL SHOULD BE EXCLUDED ........................................17

CONCLUSION .............................................................................................................................19
          Case 1:11-cv-06201-DLC Document 1217 Filed 02/03/15 Page 3 of 24



                                              TABLE OF AUTHORITIES

                                                                                                                              Page(s)

Cases

523 IP LLC v. CureMD.Com,
   2014 WL 4746140 (S.D.N.Y. Sept. 24, 2014) ........................................................................14

In re Am. Int’l Group, Inc. Secs. Litig.,
    265 F.R.D. 167 (S.D.N.Y. 2010) ............................................................................................15

Amorgianos v. Nat’l R.R. Passenger Corp.,
  303 F.3d 256 (2d Cir. 2002) ....................................................................................................13

Daubert v. Merrell Dow Pharms., Inc.,
   509 U.S. 579 (1993) ........................................................................................................ passim

In re Fed. Home Loan Mortg. Corp. Secs. Litig.,
    281 F.R.D. 174 (S.D.N.Y. 2012) ......................................................................................15, 17

FHFA v. JPMorgan Chase & Co., et al.,
  2012 WL 6000885 (S.D.N.Y. Dec. 3, 2012) ..................................................................1, 3, 14

Hunt v. CNH Am. LLC,
   511 Fed. App’x 43 (2d Cir. 2013) ...........................................................................................17

In re Moody’s Corp. Secs. Litig.,
    274 F.R.D. 480 (S.D.N.Y. 2011) ............................................................................................15

Nimely v. City of New York,
   414 F.3d 381 (2d Cir. 2005) ....................................................................................................14

Pegram v. Herdrich,
   530 U.S. 211 (2000) ................................................................................................................14

Ruggiero v. Warner-Lambert Co.,
   424 F.3d 249 (2d Cir. 2005) ....................................................................................................13

SEC v. Tourre,
   950 F. Supp. 2d 666 (S.D.N.Y. 2013) ...............................................................................13, 16

Shatkin v. McDonnell Douglas Corp.,
   727 F.2d 202 (2d Cir. 1984) ....................................................................................................17

United States v. Herrera,
   788 F. Supp. 2d 1026 (N.D. Cal. 2011) ..................................................................................18



                                                                  -ii-
          Case 1:11-cv-06201-DLC Document 1217 Filed 02/03/15 Page 4 of 24




                                             TABLE OF AUTHORITIES
                                                   (Continued)

United States v. Williams,
   506 F.3d 151 (2d Cir. 2007) ....................................................................................................13

Zerega Ave. Realty Corp. v. Hornbeck Offshore Transp., LLC,
   571 F.3d 206 (2d Cir. 2009) ....................................................................................................13

Rules

Federal Rule of Evidence 403 ............................................................................................... passim

Federal Rule of Evidence 702 .............................................................................................1, 12, 13




                                                               -iii-
         Case 1:11-cv-06201-DLC Document 1217 Filed 02/03/15 Page 5 of 24




                           TABLE OF ABBREVIATIONS


Action                   FHFA v. Nomura Holding America Inc., et al., No. 11 Civ. 6201
                         (DLC)
AVM                      Automated Valuation Model
Cowan Backup             Nomura Simulation Output Backup File to the October 7, 2014
                         Expert Report of Charles D. Cowan in this Action
Cowan Deposition         Deposition of Charles D. Cowan, taken November 20, 2014 in this
                         Action
Cowan Sampling Report    October 10, 2012 Expert Report of Charles D. Cowan in this Action
Cowan Extrapolation      October 7, 2014 Expert Report of Charles D. Cowan in this Action
Report
Defendants               Nomura Holding America Inc., Nomura Asset Acceptance
                         Corporation, Nomura Home Equity Loan, Inc., Nomura Credit &
                         Capital, Inc., Nomura Securities International, Inc., RBS Securities
                         Inc., David Findlay, John McCarthy, John P. Graham, Nathan
                         Gorin, and N. Dante LaRocca
Ex.                      Exhibit to January 8, 2015 Declaration of Elizabeth Cassady
                         submitted in support of this motion
Kilpatrick Report        May 15, 2014 Expert Report of John A. Kilpatrick Concerning
                         Accuracy of Appraisals in this Action
LTV                      Loan-to-value
Nomura                   Nomura Holding America Inc., Nomura Asset Acceptance
                         Corporation, Nomura Home Equity Loan, Inc., Nomura Credit &
                         Capital, Inc., and Nomura Securities International, Inc.
Plaintiff                Federal Housing Finance Agency
Plaintiff’s Proposal     Plaintiff FHFA’s Proposed Sampling Protocol in FHFA v. UBS
                         Americas, Inc., No. 11 Civ. 5201 (DLC) (Feb. 29, 2012)
Securitizations          NAA 2005-AR6, NHELI 2006-FM1, NHELI 2006-FM2, NHELI
                         2006-HE3, NHELI 2007-1, NHELI 2007-2, and NHELI 2007-3




                                          -iv-
        Case 1:11-cv-06201-DLC Document 1217 Filed 02/03/15 Page 6 of 24



               Defendants respectfully submit this memorandum in support of their motion to

exclude, pursuant to Federal Rules of Evidence 403 and 702 and Daubert v. Merrell Dow

Pharmaceuticals, Inc., 509 U.S. 579 (1993), certain trial testimony of Charles D. Cowan related

to his purported extrapolation of the results of John A. Kilpatrick’s automated valuation model.

                                 PRELIMINARY STATEMENT

               Expert testimony is inadmissible if it is unreliable or misleading, and certain

testimony offered by Charles D. Cowan is both. Cowan’s sampling methodology was approved

by this Court, over defendants’ objections, on the basis of Cowan’s representation that he would

extrapolate Kilpatrick’s valuations of the Nomura sample loans to a 95 percent confidence level.1

FHFA v. JPMorgan Chase & Co., et al., 2012 WL 6000885, at *5 (S.D.N.Y. Dec. 3, 2012). In

performing his calculations, however, Cowan abandoned his stated confidence level and stepped

far beyond his role as an extrapolator of Kilpatrick’s valuations.

               First, Cowan seeks to offer testimony that does not use the stated 95 percent

confidence level—or indeed any confidence level—thereby producing results that are in no sense

reliable. In particular, Cowan extrapolates and reports LTV ratios without regard to whether the

calculations are statistically significant. Aside from its unreliability, that testimony is highly

misleading and contravenes the express terms of the Court’s December 3, 2012 Order.

               Second, Cowan’s testimony ignores Kilpatrick’s opinions about what constitutes

an “inflated” or “undervalued” appraisal, thus producing purported extrapolation results that are

not actually based on Kilpatrick’s valuations. Specifically, Cowan extrapolates the results of

Kilpatrick’s automated valuation model for all sample loans, not just for those loans that,

1
       This motion pertains only to Cowan’s extrapolation of Kilpatrick’s appraisal accuracy
results—not, for example, Cowan’s extrapolation of Robert W. Hunter’s underwriting results.
See Ex. 1 (Cowan Extrapolation Report) at 2.
        Case 1:11-cv-06201-DLC Document 1217 Filed 02/03/15 Page 7 of 24



according to Kilpatrick, had appraised values that differed in a statistically significant way from

his automated valuation model results. An extrapolation methodology that distorts the

underlying data is unreliable. It also misleads the jury by masquerading as a purely procedural

statistical analysis while in reality manipulating the substantive inputs.

               For these reasons, Cowan’s testimony that does not use the required 95 percent

confidence level, and that ignores Kilpatrick’s standard for an “inflated” or “undervalued”

appraisal, should be excluded at trial.

                                          BACKGROUND

               The seven Certificates purchased by Freddie Mac and Fannie Mae that are at issue

in this case were backed by more than 15,000 loans. Plaintiff sought and obtained this Court’s

permission to adopt a sampling approach to re-underwriting those loans. In October 2012,

plaintiff submitted its proposed sampling methodology, designed by plaintiff’s expert Charles

Cowan. In his report, Cowan stated that he had selected “a statistically valid random sample of

loans from the Supporting Loan Groups” backing the Certificates purchased by Freddie Mac and

Fannie Mae. (Ex. 2 (Cowan Sampling Report) at 1.) According to Cowan, “[t]hese samples are

representative of the populations and are unbiased.” (Ex. 2 (Cowan Sampling Report) at 2.)

               Plaintiff represented that Cowan’s samples would be analyzed by its subject-

matter experts (later disclosed as Robert W. Hunter and John A. Kilpatrick), who would

purportedly determine whether the sample loans were consistent with statements contained in the

Offering Documents regarding (i) compliance with underwriting guidelines, (ii) LTV ratios, and

(iii) borrowers’ intent to occupy the mortgaged properties. (Ex. 2 (Cowan Sampling Report) at

12, 18; Ex. 1 (Cowan Extrapolation Report) at 2.) Plaintiff told the Court that after the subject-

matter experts had completed their analyses, Cowan would extrapolate their sample-level results




                                                 -2-
       Case 1:11-cv-06201-DLC Document 1217 Filed 02/03/15 Page 8 of 24



to the overall population of loans. According to Cowan, extrapolation is a purely procedural

analysis that generalizes information about a sample to the general population. (Ex. 2 (Cowan

Sampling Report) at 27.)

               In plaintiff’s proposal to the Court in 2012, Cowan opined that his sampling and

extrapolation methodology would enable him to draw conclusions regarding the overall

population at a 95 percent confidence level, “which is standard in statistics.” (Ex. 2 (Cowan

Sampling Report) at 2.) “The confidence level refers to the percentage of time that the actual

value for the population will be within a specified range [the margin of error] around the sample

value.” (Ex. 2 (Cowan Sampling Report) at 12.) According to Cowan, his methodology “strikes

the correct balance between cost and accuracy.” (Ex. 2 (Cowan Sampling Report) at 20.)

               In October 2012, defendants moved under Daubert to exclude testimony

concerning Cowan’s proposed sampling methodology on several grounds, including that plaintiff

had failed to identify an extrapolation procedure. FHFA, 2012 WL 6000885, at *11. In an order

issued in December 2012, the Court denied that motion. In so doing, the Court relied on the

notion that Cowan’s framework would enable plaintiff to estimate population-level loan

characteristics at a “95% confidence level.” Id. at *5. The Court also stated that “[t]he present

motion is being decided without prejudice to defendants’ right to challenge, on Daubert grounds,

additional opinions that may be expressed by the plaintiff’s expert.” Id. at *3.

               Hunter and Kilpatrick thereafter analyzed the sample loans. Kilpatrick purported

to ascertain, among other things, whether the original appraisals underlying the sample loans

were “accurate” using the Greenfield AVM, a program he designed for use in this litigation.




                                                -3-
        Case 1:11-cv-06201-DLC Document 1217 Filed 02/03/15 Page 9 of 24



(Ex. 3 (Kilpatrick Report) at 1-2.)2 Kilpatrick’s methodology for this inquiry included three

steps. First, he used the Greenfield AVM to generate a new estimate (accompanied by a standard

deviation measure) of the value for each sample property. Second, he identified properties

“overvalued so significantly . . . that . . . the original appraisals were not accurate.” (Ex. 3

(Kilpatrick Report) at 2.) In order to account for imprecision in the application of his model,

Kilpatrick defined an original appraisal as “inflated” if the opinion of value rendered by the

licensed appraiser was at least one standard deviation above the AVM estimate. (Ex. 3

(Kilpatrick Report) at 62 n.161.) Under this standard, Kilpatrick concluded that 208 of 672

sampled properties had inflated appraisals. (Ex. 3 (Kilpatrick Report) at 62 n.161.) Third, he

recalculated LTV ratios for the sampled properties based on the lowest of the sales price of the

property, the original appraised value or the value generated by the Greenfield AVM. (Ex. 3

(Kilpatrick Report) at 2, 68.)

               Cowan purports to extrapolate Kilpatrick’s results for the sample loans to the

overall population, claiming that his approach achieves a confidence level of 95 percent. (Ex. 1

(Cowan Extrapolation Report) at 3.)3 Cowan’s extrapolation methodology (a “Monte Carlo

simulation”) allegedly accounts for two “sources of variability in the AVM Data: (i) the

variability due to the use of a sample of loans from the population of loans in each deal” and

“(ii) the variability in Dr. Kilpatrick’s AVM estimates.” (Ex. 1 (Cowan Extrapolation Report) at

10-11.) To purportedly account for the latter, Cowan simulates new appraisal values based on

2
       Defendants have moved to exclude Kilpatrick’s testimony in its entirety, including
because Kilpatrick’s Greenfield AVM does not satisfy Daubert’s standards for the admissibility
of expert testimony. Motion to Exclude the Testimony of John Kilpatrick (Dec. 5, 2014). If that
motion is granted, all of Cowan’s testimony based on Kilpatrick’s opinions should be excluded.
3
       Cowan states that he accepts Kilpatrick’s definition of what constitutes an “inflated”
appraisal. (E.g., Ex. 1 (Cowan Extrapolation Report) at 16.)




                                                  -4-
       Case 1:11-cv-06201-DLC Document 1217 Filed 02/03/15 Page 10 of 24



the Greenfield AVM point estimate and its measure of variability for each sampled property

instead of using the AVM point estimate directly.

               Cowan then uses the simulated appraisal values produced by the Monte Carlo

procedure to (i) opine that defendants misstated the percentage of loans whose LTV ratios fell

into various ranges, for example, between 80 and 85 percent, or above 100 percent (Ex. 1

(Cowan Extrapolation Report) at Table 8 & Chart 1), and (ii) calculate an “average inflation

rate” for appraisals of the loans backing the Certificates (Ex. 1 (Cowan Extrapolation Report) at

Table 6.)

               Cowan’s conclusions are flawed in two respects. First, his extrapolation of the

ranges for “true” LTV ratios departs from his stated 95 percent confidence level—and in fact

uses no confidence level at all. Second, all of Cowan’s opinions disregard Kilpatrick’s definition

of what qualifies as an inflated appraisal. Those two flaws completely undermine Cowan’s

conclusions.

       A.      Cowan’s Failure to Use a 95 Percent Confidence Level to Extrapolate Ranges
               of Loan-to-Value Ratios

               In order to ascertain the percentage of loans with an understated LTV ratio,

Cowan first uses Kilpatrick’s Greenfield AVM values to create simulated appraisal values for the

sample loans, and then recalculates the LTV ratio for each sample loan. (Ex. 1 (Cowan

Extrapolation Report) at 14.) Cowan then compares these recalculated LTV ratios to the LTV

ratios found on the loan tape for each Certificate. Cowan concludes that the loan tape LTV ratios

were understated for 40 of the 672 loans (about 5.9 percent) included in his sample. (Ex. 1

(Cowan Extrapolation Report) at 14.) These are the only loans that Cowan is able to conclude—

at a 95 percent confidence level—have understated LTV ratios. No other loans satisfy the stated

confidence level. For the remaining 632 loans, Cowan reports that there is “no detectible



                                               -5-
       Case 1:11-cv-06201-DLC Document 1217 Filed 02/03/15 Page 11 of 24



difference” between the recalculated LTV ratio and the loan tape LTV ratio—so that the latter is

not “understated.”4 (See Ex. 4 (Cowan Deposition) at 252:20-253:4 (“Q.: So if the original loan

tape LTV falls within the confidence interval around the recalculated LTV, you would conclude

there’s no difference between them? A.: I would conclude that there’s no detectible

difference . . . .”).) Cowan’s Table 7, which sets forth these results, appears below.

Table 7: Percent of Loans where the Loan Tape LTV Ratio Is Less than the 95% Lower
Bound of the Simulated LTV Ratio

                                                            Percent of
                                                         Understated Loan
                            Securitization (SLG)         Tape LTV Ratios
                          NAA 2005-AR6 Group 3                       5.4%
                          NHELI 2006-FM1 Group 1                     3.2%
                          NHELI 2006-FM2 Group 1                     7.4%
                          NHELI 2006-HE3 Group 1                    10.2%
                          NHELI 2007-1 Group 2-1                     2.2%
                          NHELI 2007-2 Group 1                       8.0%
                          NHELI 2007-3 Group 1                       5.8%
                          Aggregate                                  6.0%


               For purposes of subsequent analysis, however, Cowan abandons his 95 percent

confidence level by substituting recalculated LTV ratios for all loans—not just the 40 loans that

satisfy his 95 percent confidence level, i.e., those with recalculated LTV ratios that are

“detectibl[y]” different from the reported LTV ratios. Cowan’s Table 8 and Chart 1 (which

reproduces Table 8 in graphical form) illustrate this error. Table 8 contrasts loan tape LTV ratios

with Cowan’s recalculated LTV ratios. (Ex. 1 (Cowan Extrapolation Report) at 15.) The results

are broken down by ranges, reflecting the percentage of loans with LTV ratios greater than 100,

between 95 and 100, between 90 and 95, etc. The resulting chart is apparently intended to

suggest serious and pervasive misstatements by defendants. For example, zero percent of the

4
       (See Ex. 5 (Cowan Backup) at Loan Level.)



                                                 -6-
       Case 1:11-cv-06201-DLC Document 1217 Filed 02/03/15 Page 12 of 24



loan tapees report a LT
                      TV ratio hig
                                 gher than 100
                                             0 percent, whhereas Cowaan’s simulatted LTV ratios

(containeed in the fourth column) purport to show that 19 .5 percent off loans undeerlying the

Certificattes fell withiin this category. (Ex. 1 (Cowan Exttrapolation R
                                                                       Report) at 155.)

Table 8: Compariso
                 on of the Disstribution of
                                         o Loans Bassed on LTV
                                                             V Ranges

                                        Population        A
                                                          AVM Samplle           AVM M
                  LT
                   TV Ranges            Loan Tape          Loan Tapee         Simullated
                                        LTV Ratios
                                            R              L
                                                           LTV Ratioss       LTV RRatios
              Less th
                    han 75                   32.7%              33.8%
                                                                    %             222.0%
              Betweeen 75 and 800            37.8%              44.8%
                                                                    %               6.0%
              Betweeen 80 and 855             8.3%               6.0%
                                                                    %             223.4%
              Betweeen 85 and 900            13.7%               9.2%
                                                                    %             13.7%
              Betweeen 90 and 955             4.0%               2.5%
                                                                    %               8.3%
              Betweeen 95 and 1000            3.5%               3.7%
                                                                    %               7.1%
              Greaterr than 100               0.0%               0.0%
                                                                    %             19.5%


Chart 1:: Compariso
                  on of the Distribution of
                                         o Loans Baased on LTV
                                                             V Ranges




               For th
                    he calculation
                                 ns behind Taable 8 and C
                                                        Chart 1, Cow
                                                                   wan employs simulated vvalues

for every
        y loan in the sample—inccluding loan
                                           ns that, by hiis own admisssion, did noot have

understatted LTV ratiios. (Ex. 1 (Cowan Extrrapolation Reeport) at 15 (describing the results inn the

rightmost column as “AVM Simu
                            ulated LTV Ratios”); Exx. 5 (Cowan Backup) at LTV



                                                  -7-
       Case 1:11-cv-06201-DLC Document 1217 Filed 02/03/15 Page 13 of 24



Tabulations (Count).) Consistent with his 95 percent confidence level, Cowan should instead

have used the LTV ratios on the loan tapes for all loans other than the 40 loans he identified as

having recalculated LTV ratios that were statistically significantly different from the actual LTV

ratios. In other words, in situations where the loan tape LTV ratio was not “understated,” Cowan

should have employed that loan tape LTV ratio for purposes of calculating the distribution

percentages in column four. By using simulated LTV ratios for all of the sample loans, he

produces results that have no statistical significance whatsoever.

               The cumulative effect of employing simulated LTV ratios for all sample loans,

regardless of confidence level, is significant. Small differences in reported and simulated LTV

ratios—differences so small that Cowan testified “there’s no detectible difference” (Ex. 4

(Cowan Deposition) at 252:25-253:4)—can cause a LTV ratio to move from one percentage

range to another, making it appear that the Offering Documents were inaccurate. A recalculation

of Cowan’s Table 8 using simulated LTV ratios for only those 40 loans where Cowan’s 95

percent confidence level is satisfied produces drastically different results. For example, only 5.5

percent—rather than 19.5 percent—of loans have LTV ratios greater than 100 percent. The table

below contrasts these statistically significant results (“Cowan at 95% Confidence Level”) with

Cowan’s original numbers (“Cowan Reported”).5




5
 Declaration of Arnold Barnett in Support of Defendants’ Motion to Exclude Certain Testimony
of Charles D. Cowan, ¶ 3, January 8, 2015.




                                                -8-
       Case 1:11-cv-06201-DLC Document 1217 Filed 02/03/15 Page 14 of 24




                              Recalculated LTV Ranges Using Cowan’s 95% Confidence Level


                                                                           AVM Simulated LTV Ratios
                                 Population AVM Sample                               Cowan at 95%
                                  Loan Tape  Loan Tape         Cowan Reported       Confidence Level   Difference
         LTV Ranges              LTV Ratios LTV Ratios              [A]                   [B]           [A]-[B]

         Less than 75               32.7%        33.8%             22.0%                 32.3%          -10.3%

         Between 75 and 80          37.8%        44.8%             6.0%                  42.7%          -36.8%

         Between 80 and 85          8.3%         6.0%              23.4%                 5.5%            17.9%

         Between 85 and 90          13.7%        9.2%              13.7%                 8.8%            4.9%

         Between 90 and 95          4.0%         2.5%              8.3%                  2.1%            6.3%

         Between 95 and 100         3.5%         3.7%              7.1%                  3.1%            4.0%

         Greater than 100           0.0%         0.0%              19.5%                 5.5%            14.0%


                 When a 95 percent confidence level is used, there is a very small difference

between the loan tape LTV ratios and the extrapolated LTV ratios. Cowan generates differences

that appear greater only by ignoring the standard of statistical significance that he promised to

use and that was required by the Court.

       B.        Cowan’s Failure to Use Kilpatrick’s Definition of an “Inflated” or
                 “Undervalued” Appraisal

                 Cowan also errs by disregarding Kilpatrick’s definition of what qualifies as an

“inflated” or “undervalued” appraisal. As noted previously, in order to account for imprecision

in his automated valuation model, Kilpatrick restricts his “inflated” appraisal classification to

those appraisals with property values that fall more than one standard deviation above the

corresponding Greenfield AVM value. (Ex. 3 (Kilpatrick Report) at 62 n.161.) Kilpatrick

likewise counts appraisals as “undervalued” if they have a property value that is more than one

standard deviation below the corresponding Greenfield AVM value. (Ex. 3 (Kilpatrick Report)




                                                         -9-
       Case 1:11-cv-06201-DLC Document 1217 Filed 02/03/15 Page 15 of 24



at 64.) Cowan says that he accepts Kilpatrick’s definitions at face value,6 but then proceeds in an

entirely contrary manner. In performing his calculations, Cowan uses simulated appraisal values

exclusively—even when the original appraisals fall within one standard deviation of the

corresponding Greenfield AVM value and thus fail to qualify as inflated or undervalued under

Kilpatrick’s analysis. (See Ex. 4 (Cowan Deposition) at 230:20-231:3 (“Q.: . . . The results in

Table 6 reflect the GAVM findings for all 672 loans, not just those loans Dr. Kilpatrick

considered to have an inflated original appraisal value, is that correct? A.: Yes.”).)

               Cowan’s actual calculation of average inflation rates for the appraisals in each

Securitization is shown in Table 6, below. (Ex. 1 (Cowan Extrapolation Report) at 14.) Had

Cowan been faithful to Kilpatrick’s results, he would have used an inflation rate of zero

whenever the original appraisals were within one standard deviation of the Greenfield AVM’s

results. Cowan should have used simulated appraisal values to calculate appraisal inflation only

when the corresponding loan tape values fell at least one standard deviation above (or below) the

property value computed by Kilpatrick’s automated valuation model.




6
        (See, e.g., Ex. 1 (Cowan Extrapolation Report) at 16 n.20 (“Kilpatrick considered a loan
to have an inflated Original Appraisal if its value was more than one standard deviation above
his predicted AVM.”); Ex. 4 (Cowan Deposition) at 217:6-11 (“Q.: And did you adopt Dr.
Kilpatrick’s definition of inflated appraisals for purposes of performing your extrapolation? A.:
Well, yes.”) (form objection omitted); Ex. 4 (Cowan Deposition) at 217:12-16 (“Q.: . . . [Y]ou
haven’t conducted an independent analysis of appraisals in these cases, right? A.: No.”).)




                                                -10-
       Case 1:11-cv-06201-DLC Document 1217 Filed 02/03/15 Page 16 of 24



Table 6: Average AVM Inflation Rate

                                                             95% Lower           95% Upper
           Securitization (SLG)          Average AVM
                                                             Bound AVM           Bound AVM
                                         Inflation Rate
                                                            Inflation Rate      Inflation Rate
      NAA 2005-AR6 Group 3                        6.0%                2.0%               10.0%
      NHELI 2006-FM1 Group 1                      6.6%                1.6%               11.7%
      NHELI 2006-FM2 Group 1                     14.9%                8.4%               21.3%
      NHELI 2006-HE3 Group 1                     12.0%                6.1%               17.8%
      NHELI 2007-1 Group 2-1                      5.1%                0.7%                9.4%
      NHELI 2007-2 Group 1                       12.6%                7.0%               18.3%
      NHELI 2007-3 Group 1                        7.8%                2.5%               13.1%
      Aggregate                                  11.1%               8.5%               13.7%


               Cowan acknowledged that if he had followed that methodology—i.e., if he had

used Kilpatrick’s Greenfield AVM results only for the appraisals Kilpatrick actually found to be

inflated—his results would have been quite different. (Ex. 4 (Cowan Deposition) at 231:18-23.)7

In fact, the use of simulated values across the board to estimate “average inflation” creates

overstated appraisal inflation rates for every single Securitization. The table below compares

Cowan’s original inflation rates (column [A]) with recalculated rates that incorporate

Kilpatrick’s definition of inflated and undervalued appraisals (column [B]).8




7
        Cowan speculated that the results “would be much worse in terms of the inflation that’s
reported” if he had used the Greenfield AVM values only for appraisals Kilpatrick considered
inflated, but he admitted that he had never actually performed that calculation. (Ex. 4 (Cowan
Deposition) at 231:24-232:2, 234:2-5.)
8
      Declaration of Arnold Barnett in Support of Defendants’ Motion to Exclude Certain
Testimony of Charles D. Cowan, ¶ 5, January 8, 2015.



                                               -11-
       Case 1:11-cv-06201-DLC Document 1217 Filed 02/03/15 Page 17 of 24



                            Recalculated “Average Inflation Rates” Using Dr.
                           Cowan’s Methodology and Dr. Kilpatrick’s Definition


                                                    Cowan          Cowan
                                                   Reported       Corrected
                           Securitization            [A]             [B]

                           NAA 2005-AR6              6.0%            5.6%

                           NHELI 2006-FM1            6.6%            5.0%

                           NHELI 2006-FM2           14.9%           13.9%

                           NHELI 2006-HE3           12.0%           10.9%

                           NHELI 2007-1              5.1%            3.4%

                           NHELI 2007-2             12.6%           11.7%

                           NHELI 2007-3              7.8%            6.0%

                           Aggregate                11.1%           9.9%


               This error infects Cowan’s extrapolation of LTV ratios as well. (Ex. 1 (Cowan

Extrapolation Report) at 14-15.) In determining the “value” segment of the loan-to-value ratio,

Cowan should have used the original appraisal values for all loans that did not qualify as inflated

or undervalued under Kilpatrick’s definition. Instead, he employs simulated appraisal values

universally. (See Ex. 4 (Cowan Deposition) at 231:4-11 (“Q.: And your results in Table 8

reflect the GAVM findings for all 672 loans, not just those Dr. Kilpatrick considered to have an

inflated original appraisal value, is that right? . . . A.: That’s correct.”); Ex. 4 (Cowan

Deposition) at 231:12-17 (same for Chart 1).) This approach results in significantly overstated

LTV ratios.

                                            ARGUMENT

I.     LEGAL STANDARD

               Federal Rule of Evidence 702 “assign[s] to the trial judge the task of ensuring that

an expert’s testimony both rests on a reliable foundation and is relevant to the task at hand.”




                                                  -12-
       Case 1:11-cv-06201-DLC Document 1217 Filed 02/03/15 Page 18 of 24



Daubert, 509 U.S. at 597. “[W]hen an expert opinion is based on data, a methodology, or

studies that are simply inadequate to support the conclusions reached, Daubert and Rule 702

mandate the exclusion of that unreliable opinion testimony.” Ruggiero v. Warner-Lambert Co.,

424 F.3d 249, 255 (2d Cir. 2005) (internal quotation marks omitted). The party seeking to

introduce the testimony bears the burden of satisfying Rule 702’s requirements by a

preponderance of the evidence. SEC v. Tourre, 950 F. Supp. 2d 666, 674 (S.D.N.Y. 2013).

               In performing the Daubert inquiry, a court “should consider the indicia of

reliability identified in Rule 702, namely, (1) that the testimony is grounded on sufficient facts or

data; (2) that the testimony is the product of reliable principles and methods; and (3) that the

witness has applied the principles and methods reliably to the facts of the case.” United States v.

Williams, 506 F.3d 151, 160 (2d Cir. 2007) (quoting Amorgianos v. Nat’l R.R. Passenger Corp.,

303 F.3d 256, 265 (2d Cir. 2002) (internal quotation marks omitted)). Expert testimony should

be excluded when it is “speculative,” “conjectural,” or “contradictory.” Zerega Ave. Realty

Corp. v. Hornbeck Offshore Transp., LLC, 571 F.3d 206, 213-14 (2d Cir. 2009) (internal

quotation marks omitted).

               Expert evidence is also subject to Rule 403, which permits a court to “exclude

relevant evidence if its probative value is substantially outweighed by a danger of . . . unfair

prejudice, confusing the issues, [or] misleading the jury.” FED. R. EVID. 403; see also Tourre,

950 F. Supp. 2d at 675. As the Supreme Court observed in Daubert, “[e]xpert evidence can be

both powerful and quite misleading because of the difficulty in evaluating it. Because of this

risk, the judge in weighing possible prejudice against probative force under Rule 403 of the

present rules exercises more control over experts than over lay witnesses.” 509 U.S. at 595

(internal quotation marks omitted). Thus, “[t]he Rule 403 inquiry is particularly important in the




                                                -13-
       Case 1:11-cv-06201-DLC Document 1217 Filed 02/03/15 Page 19 of 24



context of expert testimony, ‘given the unique weight such evidence may have in a jury’s

deliberations.’” 523 IP LLC v. CureMD.Com, 2014 WL 4746140, at *37 (S.D.N.Y. Sept. 24,

2014) (quoting Nimely v. City of New York, 414 F.3d 381, 397 (2d Cir. 2005)).

II.    COWAN’S TESTIMONY THAT IS NOT BASED ON ANY STANDARD OF
       STATISTICAL SIGNIFICANCE SHOULD BE EXCLUDED.

               Cowan’s testimony that does not reflect any confidence level, much less the 95

percent confidence level approved by this Court, should be excluded.

       A.      Plaintiff Is Estopped from Presenting Extrapolations That Do Not
               Incorporate the Confidence Level It Proposed and the Court Approved.

               Cowan’s testimony runs directly contrary to the representations made by plaintiff

in order to secure the Court’s approval of its proposed sampling methodology. (See, e.g., Ex. 2

(Cowan Sampling Report) at 19 (“This sample yields an estimate with a 95 percent confidence

level . . . .”).) This Court expressly relied on those representations in accepting Cowan’s

proposed methodology over defendants’ objections. FHFA, 2012 WL 6000885, at *5

(“According to the Report, these samples will enable FHFA to make estimates regarding the

underlying populations with a 95% confidence level . . . .”). As a result, plaintiff is judicially

estopped from seeking to use a different, and much lower, confidence level for its sampling and

extrapolation. Pegram v. Herdrich, 530 U.S. 211, 228 n.8 (2000) (holding that judicial estoppel

“prevents a party from prevailing in one phase of a case on an argument and then relying on a

contradictory argument to prevail in another phase”).

               Plaintiff proposed a sampling methodology with certain material characteristics

(including a 95 percent confidence level) and obtained the Court’s approval to use the

methodology as proposed. Subsequent discovery and expert analysis have taken place in light of

the Court’s approval of a 95 percent confidence level. Plaintiff cannot change course at this late




                                                -14-
       Case 1:11-cv-06201-DLC Document 1217 Filed 02/03/15 Page 20 of 24



stage in order to present to the jury results that appear more favorable to plaintiff but have no

statistical significance.

        B.      Cowan’s Extrapolations Without Regard to Any Standard of Statistical
                Significance Are Unreliable Under Daubert.

                Cowan’s approach violates not only this Court’s prior ruling, but is also contrary

to well-settled statistical norms. In determining whether an expert’s testimony is sufficiently

reliable under Daubert, “a court should consider whether the expert fails to employ the level of

intellectual rigor that characterizes the practice of an expert in the relevant field.” In re Fed.

Home Loan Mortg. Corp. Secs. Litig., 281 F.R.D. 174, 181 (S.D.N.Y. 2012). Here, as plaintiff

repeatedly argued, a 95 percent confidence level “is standard in statistics.” (Ex. 2 (Cowan

Sampling Report) at 2; see also Ex. 2 (Cowan Sampling Report) at 20 (quoting Shari Seidman

Diamond, Reference Guide on Survey Research, in Reference Manual on Scientific Evidence

244 (Fed. Judicial Ctr. 2d ed. 2000) (“Traditionally, scientists adopt the 95% level of

confidence . . . .”)); Ex. 6 (Plaintiff’s Proposal) at 2 (“The 95% confidence interval has been

generally accepted by courts and those in the scientific community.”); Ex. 6 (Plaintiff’s

Proposal) at 7 (“The proposed confidence interval of 95 percent is customary in statistics.”)

(citing Kevin D. Hoover & Mark V. Siegler, Sound and Fury: McCloskey and Significance

Testing in Economics, 15 J. Econ. Methodology 1, at 13-14, 24 (March 2008)).)

                Courts in this district have also insisted on the use of a 95 percent confidence

level. For example, in In re American International Group, Inc. Securities Litigation, 265

F.R.D. 167, 187 (S.D.N.Y. 2010), vacated on other grounds, 689 F.3d 229 (2d Cir. 2012), the

court concluded that it is not “consistent with standard methodology in financial economics

. . . to draw conclusions at” a 90 percent confidence level. See also In re Moody’s Corp. Secs.

Litig., 274 F.R.D. 480, 493 n.11 (S.D.N.Y. 2011) (holding that 90 percent “is below the



                                                 -15-
       Case 1:11-cv-06201-DLC Document 1217 Filed 02/03/15 Page 21 of 24



conventional statistical measure of a 95% confidence level and therefore is not sufficient

evidence of a link between the corrective disclosure and the price”). Here, by using simulated

LTV ratios for all loans, Cowan did not merely adopt a confidence level lower than is commonly

required—he dispensed with a confidence level altogether. His results thus fail to satisfy

Daubert’s reliability requirement.

       C.      Cowan’s Extrapolations Without Regard to Any Standard of Statistical
               Significance Should Be Excluded Under Rule 403.

               The portions of Cowan’s testimony that do not adhere to a 95 percent confidence

level should also be excluded under Rule 403. Permitting Cowan to assert a 95 percent

confidence level when his actual calculations fail to satisfy that standard would pose a serious

risk of misleading the jury, which is likely to be impressed by his supposedly high accuracy rate.

It will be essentially impossible for lay jurors to keep track of Cowan’s subtle departures from

his stated confidence levels. Cf. Tourre, 950 F. Supp. 2d at 684 (“It would be confusing and

unduly prejudicial for Tourre to present extensive evidence on the presence and involvement of

lawyers . . . while at the same time professing not to have relied on their advice in preparing or

disseminating those disclosures.”). Given the subtle—yet pervasive—nature of Cowan’s

deviations from the 95 percent confidence level, cross-examination would be inadequate to

remedy the harm done by his misleading representations.

               Cowan’s use of simulated LTV ratios without regard to their lack of statistical

significance produces a considerable shift in the percentage of loans falling into each LTV ratio

category in Table 8 and Chart 1. This sleight of hand results in a distorted portrayal of the

accuracy of the Offering Documents. Exposing the jury to these misleading figures, while

simultaneously permitting Cowan to assert that his results have a 95 percent confidence level,

would result in serious prejudice to defendants. See Daubert, 509 U.S. at 595 (“Expert evidence



                                                -16-
       Case 1:11-cv-06201-DLC Document 1217 Filed 02/03/15 Page 22 of 24



can be both powerful and quite misleading because of the difficulty in evaluating it.”) (internal

quotation marks omitted). Cowan’s testimony in this regard should therefore be excluded under

Rule 403.

III.   COWAN’S TESTIMONY THAT IGNORES KILPATRICK’S DEFINITION OF
       AN “INFLATED” APPRAISAL SHOULD BE EXCLUDED.

               Cowan performs a second “magic trick” in his use of Kilpatrick’s appraisal

accuracy data. Contrary to his function as a sampling expert, Cowan distorts the underlying data

by ignoring Kilpatrick’s conclusions about which appraisals qualify as inflated or undervalued.

Cowan’s extrapolation methodology was supposed to be a purely procedural tool that did

nothing more than generalize Kilpatrick’s analysis of the sample loans to the entire population of

loans underlying the Securitizations. Cowan is therefore bound to accept Kilpatrick’s results.

An extrapolation methodology that fails to respect the underlying data is, by definition, invalid.

(See, e.g., Ex. 2 (Cowan Sampling Report) at 27 (“Extrapolation refers to the concept of using

the results from the sample to estimate the values or differences in the population.”).)

               Cowan’s failure to apply Kilpatrick’s AVM results faithfully is also an internal

inconsistency in Cowan’s overall analysis. Courts have repeatedly excluded expert testimony on

this ground. See, e.g., Hunt v. CNH Am. LLC, 511 Fed. App’x 43, *3 (2d Cir. 2013) (upholding

the exclusion of expert testimony that the district court concluded was “internally inconsistent”);

In re Fed. Home Loan, 281 F.R.D. at 181 (finding an expert’s testimony “unreliable and

unpersuasive” because it was “so internally inconsistent”). In short, Cowan’s “‘apples and

oranges’ comparison simply cannot withstand scrutiny.” See Shatkin v. McDonnell Douglas

Corp., 727 F.2d 202, 208 (2d Cir. 1984).

               Cowan’s “appraisal inflation” testimony also merits exclusion pursuant to Rule

403 because it is both misleading and prejudicial. Cowan purports to conduct a purely


                                                -17-
       Case 1:11-cv-06201-DLC Document 1217 Filed 02/03/15 Page 23 of 24



procedural data extrapolation while silently revising the sample results being extrapolated in

order to produce more favorable numbers for plaintiff. His disregard of Kilpatrick’s appraisal

accuracy data is merely a “gimmick to inflate the error rate,” United States v. Herrera, 788 F.

Supp. 2d 1026, 1034 (N.D. Cal. 2011), that both distorts the underlying data and results in

systematically overstated rates of appraisal inflation. As with his selective use of the 95 percent

confidence level, Cowan’s manipulation of inputs in this instance is subtle and highly technical.

Cowan intends to tell the jury that he is merely extrapolating Kilpatrick’s results, and he should

be limited to that function. As it stands, however, “[t]he disconnects between Dr. [Cowan’s]

proposed opinions and the bases from which they were purportedly derived are so severe that

[his] testimony would only confuse and mislead the jury,” see id. at 1029, to the substantial

prejudice of defendants.




                                                -18-
       Case 1:11-cv-06201-DLC Document 1217 Filed 02/03/15 Page 24 of 24




                                        CONCLUSION

               Cowan’s testimony that does not rely on any level of statistical significance, and

that ignores Kilpatrick’s standard for appraisal inflation and undervaluation, should be excluded

as unreliable, misleading, and unduly prejudicial.

Dated: January 8, 2015
       New York, NY

                                                 Respectfully submitted,

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                                               -19-
